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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION - CINCINNATI

 RACHEL CARLOTTA,                                     Case No. 1:24-cv-73

                       Plaintiff,                     Judge Matthew W. McFarland

                V.


 HIGHER EDUCATION LOAN
 AUTHORITY OF THE STATE OF
 MISSOURI, et al.,

                       Defendants.


                                           ORDER


       This matter is before the Court on Plaintiff and Defendant United States

Department of Education's Stipulation of Dismissal, under Federal Rule of Civil

Procedure 41(a) (Doc. 30). The two parties stipulate that Plaintiff's third claim, brought

under the Fair Credit Reporting Act, is dismissed without prejudice as to this Defendant.

(Id. at Pg. ID 157.)

       Federal Rule of Civil Procedure 41(a) permits a plaintiff to voluntarily dismiss" an

action" without a court order. Fed. R. Civ. P. 41(a)(l). The Sixth Circuit has interpreted

Rule 41(a) to only allow dismissal of an entire action, not portions of the case. Philip Carey

Mfg. Co. v. Taylor, 286 F.2d 782,785 (6th Cir. 1961); but see Banque de Depots v. Nat'l Bank of

Detroit, 491 F.2d 753 (6th Cir. 1974) (affirming the dismissal of all claims against one of

two defendants under Rule 41(a)).

       Instead, Federal Rule of Civil Procedure 21 is the proper vehicle for dismissing
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some-but not all-claims or parties. See Philip Carey, 286 F.2d at 785; Espinosa v. First

Advantage Background Servs. Corp., 343 F.R.D. 514,415 (S.D. Ohio 2023). Rule 21 provides

that "[o]n motion or on its own, the court may at any time, on just terms, add or drop a

party. The court may also sever any claim against a party." Fed. R. Civ. P. 21. Courts in

this circuit have used this rule to drop defendants and claims in a piecemeal manner. See,

e.g., Espinosa, 343 F.R.D. at 415-16; United States ex rel. Doe v. Preferred Care, Inc., 326 F.R.D.

462,464 (E.D. Ky. 2018).

       This Court thus finds Rule 21 applicable here and turns to that framework. Unlike

dismissing the entire action under Rule 41(a), "[d]ropping less than the entirety of an

action ... risks prejudice to the other parties." Espinosa, 343 F.R.D. at 416 (quoting EQT

Gathering, LLC v. A Tract of Prop. Situated in Knott Cnty., Ky., No. CIV.A. 12-58-ART, 2012

WL 3644968, at *2 (E.D. Ky. Aug. 24, 2012)). Rule 21 grants district courts the discretion

to determine prejudice. Espinosa, 343 F.R.D. at 416.

       To make this inquiry, the Court looks to the factors outlined in Grover by Grover v.

Eli Lily & Co., 33 F.3d 716 (6th Cir. 1994) - (1) a "defendant's effort and expense of

preparation for trial," (2) "excessive delay and lack of diligence on the part of the

plaintiff," (3) insufficient explanation for the need to take a dismissal," and (4) "whether

a motion for summary judgment has been filed." Id. at 718; see also Igo v. Sun Life Assurance

Co. of Canada, 6522 F. Supp. 3d 929,936 (S.D. Ohio 2023) (applying the Grover factors in a

Rule 21 motion to dismiss). Using these factors, the Court concludes that the parties

would not be prejudiced by dismissing this claim. First, the case is in its early stages;

second, there is no sign that Plaintiff is delaying proceedings; and third, there is no

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pending motion for summary judgment. See id. The Court notes that there is no

explanation for the need to dismiss, see id., but the balance of these factors show a lack of

prejudice and therefore favor dismissal.

       Accordingly, the Court finds the relief sought is best construed through Rule 21,

rather than Rule 41(a). With this shift, the Court concludes that the relief sought is

appropriate. See Preferred Care, 326 F.R.D. at 465. Thus, Plaintiff may drop its Fair Credit

Reporting Act claim against Defendant Department of Education.

      Based on the foregoing reasons, the Stipulation (Doc. 30), construed as a motion

under Rule 21, is hereby GRANTED. Plaintiff's claim under the Fair Credit Reporting

Act against Defendant Department of Education is DISMISSED WITHOUT

PREJUDICE.

      IT IS SO ORDERED.


                                                   UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF OHIO

                                             By:   1-{PL.,,1,J. \11! ~
                                                   JUDGE MATTHEW W. McFARLAND




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